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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------X
 JOSEPH MITCHELL,                                                      JUDGMENT
                                                                       15-CV- 7021 (MKB)
                                    Plaintiff,

         -against-

 CITY OF NEW YORK, RICKY ALEXANDER,
 and LEE MALDONADO,

                                     Defendants.
 -----------------------------------------------------------X

                  Defendants having offered Plaintiff Joseph Mitchell to take a judgment against the

 City of New York in this action for the total sum of Fifteen Thousand Five Hundred and One

 ($15,001.00) Dollars, plus reasonable attorneys’ fees, expenses, and costs to the date of this offer

 for Plaintiff’s federal claims and Plaintiff Joseph Mitchell having accepted said offer; it is

                  ORDERED and ADJUDGED that judgment is hereby entered pursuant to Rule 68

 of the Federal Rules of Civil Procedure in favor of Plaintiff Joseph Mitchell and against the City

 of New York in the sum of Fifteen Thousand Five Hundred and One ($15,501.00) Dollars, plus

 reasonable attorneys’ fees, expenses, and costs.

                  In accordance with the offer of judgment, this judgment shall be in full

 satisfaction of all federal and state law claims or rights that Plaintiff may have to damages, or any

 other form of relief, arising out of the alleged acts or omissions of Defendants or any official,

 employee, or agent, either past or present, of the City of New York, or any agency thereof, in

 connection with the facts and circumstances that are the subject of this action; this judgment is

 made for the purposes specified in Rule 68 of the Federal Rules of Civil Procedure and it not to
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 be construed as an admission of liability by Defendants or any official, employee, or agents of the

 City of New York, or any agency thereof. Nor is it an admission that Plaintiff has suffered any

 damages; this offer of judgment will act to release and discharge Defendants; their successors or

 assigns; and all past and present officials, employees, representatives, and agents of the City of

 New York, or any agency thereof, from any and all claims that were or could have been alleged

 by Plaintiff arising out of the fats and circumstances that are the subject of this action; Plaintiff

 Joseph Mitchell waives rights to any claim for interest on the amount of the judgment and agrees

 that payment of Fifteen Thousand Five Hundred and One ($15,501.00) Dollars within ninety (90)

 days of the date of acceptance of the offer shall be a reasonable time for such payment, unless

 Plaintiff received medical treatment in connection with the underlying claims in this case for

 which Medicare has provided, or will provide, payment in full or in part; If Plaintiff Joseph

 Mitchell is a Medicare recipient who received medical treatment in connection with the claims in

 this case, the ninety (90) day period for payment shall start to run from the date that Plaintiff

 submits to counsel for Defendants a final demand letter from Medicare; Plaintiff Joseph Mitchell

 agrees to resolve any claim that Medicare may have for reimbursement of conditional payments it

 has made as secondary payer, and a Medicare Set-Aside Trust shall be created, if required by 42

 U.S.C. § 1395y(b) and 42 C.F.R. §§ 411.22 through 411.26 and Plaintiff Joseph Mitchell further

 agrees to hold harmless Defendants and all past and present officials, employees, representatives

 and agents of the City of New York, or any agency thereof, regarding any past and/or future




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 Medicare payments, presently know or unknown, made in connection with this matter.

 Dated: Brooklyn, New York                               Douglas C. Palmer
        October 21, 2016                                 Clerk of Court

                                                  by:    /s/ Janet Hamilton
                                                         Deputy Clerk




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